                      Case 1:22-mj-00180-RMM Document 1 Filed 08/10/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                              District of &ROXPELD

                  United States of America                                )
                             v.                                           )
Daniel F. Leyden, (DOB: XXXXXXXXX)                                        )       Case No.
Joseph P. Leyden, (DOB: XXXXXXXX)                                         )
                                                                          )
                                                                          )
                                                                          )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021                   in the county of                                            in the
                                           LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

  Code Section                                                            Offense Description

  18 U.S.C. §§ 111(a)(1) and (b), and 2 (Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon; Aiding and Abetting) ( Daniel Leyden)
  18 U.S.C. §§ 111(a)(1) and 2 (Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon; Aiding and Abetting) (Joseph Leyden)
  18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder (Daniel Leyden & Joseph Leyden)
  18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds (Daniel Leyden & Joseph Leyden)
  18 U.S.C. § 1752(a)(2) - Entering and Remaining in a Restricted Building or Grounds (Daniel Leyden & Joseph Leyden)
  18 U.S.C. § 1752(a)(4) - Engaging in Physical Violence in a Restricted Building or Grounds
  (Daniel Leyden & Joseph Leyden)
  40 U.S.C. § 5104(e)(2)(F) - Act of Physical Violence in the Capitol Grounds or Buildings (Daniel Leyden & Joseph Leyden)


         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                                        Complainant’s signature

                                                                                                Zach Geelan, Special Agent
                                                                                                         Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                                     2022.08.10
Date:             08/10/2022
                                                                                                                     20:10:50 -04'00'
                                                                                                           Judge’s signature

City and state:                         :DVKLQJWRQ'&                            Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                         Printed name and title
